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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 WALTER DANIELS & KIMBERLY
 DANIELS, husband and wife,
                                                      NO. 3:06-CV-00324
        Plaintiffs,

                v.                                    (JUDGE CAPUTO)

 FERNWOOD CORPORATION, t/d/b/a/
 FERNWOOD HOTEL AND RESORT,

        Defendant.

                                      MEMORANDUM

       Presently before the Court is Defendant’s motion for summary judgment pursuant

to Federal Rule of Civil Procedure 56(c). (Doc. 11.) For the reasons set forth below,

Defendant’s motion will be granted.

       The Court has jurisdiction over this action pursuant to Title 28 of the United States

Code, section 1332 (“diversity of citizenship”). Because we are sitting in diversity, the

substantive law of Pennsylvania shall apply to the instant case. Chamberlain v.

Giampapa, 210 F.3d 154, 158 (3d Cir. 2000) (citing Erie R.R. v. Tompkins, 304 U.S. 64,

78 (1938)).



                                       BACKGROUND

       On the morning of February 14, 2004, Plaintiff Walter Daniels was visiting the

Fernwood Hotel and Resort (“Fernwood”) for the purposes of engaging in the activity of

snowtubing. (Compl. ¶ 3; Doc. 1.) Plaintiff made several runs down the hill without

incident. (Id. ¶ 4.) During Plaintiff’s preparation to make a fifth run down the hill, Mr.
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Daniels alleges that Defendant’s employee informed him that lanes one and two could

not be used because an earlier guest had almost gone over the wall at the bottom of the

run. (Id. ¶ 5.) Defendant’s employee then allegedly instructed Plaintiff to go down lane

three of the hill, and in compliance with these instructions, Plaintiff sat down on the tube,

secured himself, and proceeded down the run. About two-thirds of the way down the hill,

Mr. Daniels encountered a right turn in the run that he alleges “was so negligently

maintained, designed, or allowed to exist that it permitted him to be thrown from the run[,]

causing him to become airborne for approximately thirty (30 feet[,] separating him from

the tube and resulting in an impact upon his shoulders and back, [which] caus[ed] him

serious, permanent and disabling injuries....”. (Id. ¶ 6.)

       On February 13, 2006, Plaintiff Walter Daniels filed a complaint with this Court,

claiming personal injuries sustained as a result of the alleged negligent operation,

maintenance, and design of a snow-tubing slope at Defendant’s premises. (Doc. 1.) The

Complaint also brings a cause of action for loss of consortium on behalf of Plaintiff

Kimberly Daniels. On March 13, 2006, Defendant filed an answer (Doc. 4), and on May

8, 2006, Plaintiffs filed a reply (Doc. 6) thereto. On June 15, 2006, Defendant filed the

present motion for summary judgment (Doc. 11), along with supporting documentation

(Docs. 12, 13). On March 20, 2007, Plaintiffs filed a brief in opposition to the present

motion (Doc. 17), and on April 6, 2007, Defendant filed a reply brief in support of their

motion for summary judgment (Doc. 18).

       This motion is fully briefed and ripe for disposition.




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                                     LEGAL STANDARD

       Summary judgment is appropriate if “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there

is no genuine issue as to any material fact and that the moving party is entitled to a judgment

as a matter of law.” FED . R. CIV. P. 56(c). A fact is material if proof of its existence or

nonexistence might affect the outcome of the suit under the applicable substantive law. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       Where there is no material fact in dispute, the moving party need only establish that

it is entitled to judgment as a matter of law. Where, however, there is a disputed issue of

material fact, summary judgment is appropriate only if the factual dispute is not a genuine

one. See id. at 248. An issue of material fact is genuine if “a reasonable jury could return

a verdict for the nonmoving party.” Id.

       Where there is a material fact in dispute, the moving party has the initial burden of

proving that: (1) there is no genuine issue of material fact; and (2) the moving party is entitled

to judgment as a matter of law. See CHARLES ALAN W RIGHT & ARTHUR R. MILLER , FEDERAL

PRACTICE AND PROCEDURE: CIVIL 2D § 2727 (2d ed. 1983). The moving party may present

its own evidence or, where the nonmoving party has the burden of proof, simply point out to

the Court that “the nonmoving party has failed to make a sufficient showing of an essential

element of her case . . . .” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

       All doubts as to the existence of a genuine issue of material fact must be resolved

against the moving party, and the entire record must be examined in the light most favorable

to the nonmoving party. See White v. Westinghouse Elec. Co., 862 F.2d 56, 59 (3d Cir.



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1988). Once the moving party has satisfied its initial burden, the burden shifts to the

nonmoving party to either present affirmative evidence supporting its version of the material

facts or to refute the moving party’s contention that the facts entitle it to judgment as a matter

of law. See Liberty Lobby, 477 U.S. at 256-57.

       The Court need not accept mere conclusory allegations, whether they are made in

the complaint or a sworn statement. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990).

In deciding a motion for summary judgment, “the judge’s function is not himself to weigh the

evidence and determine the truth of the matter but to determine whether there is a genuine

issue for trial.” Liberty Lobby, 477 U.S. at 249.



                                         DISCUSSION

       Prior to snowtubing on February 15, 2004, Mr. Daniels signed a form entitled

“Release of Liability for Snowtubing” (“the Release”). (Doc. 11-2.) Fernwood claims that

it is entitled to a grant of summary judgment in its favor because Plaintiffs’ negligence

claim is barred by the Release signed by Mr. Daniels prior to snowtubing. For the

reasons stated below, the Court agrees with Fernwood that they are entitled to judgment

as a matter of law, and will therefore grant its summary judgment motion.

       In their brief in opposition to the present motion, Plaintiffs cite the case of Mandell

v. Ski Shawnee, Inc., No. 05-CV-1503, 2007 WL 121847 (M.D. Pa. Jan. 11, 2007), in

which Judge James M. Munley held that where the drafter of a release form included

specific types of activities and conduct on the form, and not others, those which were

excluded did not fall within the scope of the release. In Mandell, the injured snow-tuber



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claimed that his accident was caused by reason of a non-fixed object–a movable rubber

mat at the end of the snow-tubing run–with which he came in contact. Mandell argued,

inter alia, that the release did not cover the defendants’ placement of hazards and

obstacles that were not a fixed portion of the snowtubing track. In agreeing with plaintiff’s

argument, Judge Munley cited the express language of the release in question, which

warned of “collisions with fixed objects, obstacles or structures located within or outside

of the snowtubing facility.” Id. at *4 (citation omitted) (emphasis added). Citing the law in

Pennsylvania that an exculpatory contract must state the intention of the parties with the

greatest particularity, and must be strictly construed, Judge Munley held that the

language of the release in question was, “at best, ambiguous as to whether it applies to

non-fixed objects. As such it will be construed against the party seeking immunity, that is,

the defendant.” Id. at 4 (citing Topp Copy Prods., Inc. v. Singletary, 626 A.2d 98, 99 (Pa.

1993)).

       In contrast, no such ambiguity exists in the instant matter as to whether the

exculpatory language of the Release covers the negligence alleged by the Daniels.

Instructively, in Mavreshko ex rel. Mavreshko v. Resorts USA, Inc., No. 04-457, 2005 WL

1309060 (M.D. Pa. May 31, 2005), Judge Munley held that the language of the identical

Release form at issue in the present case was broad enough to cover the claims of

negligence asserted by the parties in that case. The negligence claim in Mavreshko

contained, inter alia, allegations of negligent placement, design, and maintenance of the

snowtubing tracks. Id. at *1. Similarly, such allegations are the crux of Mr. Daniels’

negligence claim in the instant matter. The Complaint reads, at paragraph 7, “[t]he



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Defendant’s negligence in operating, designing and maintaining the [ ] snowtube run

consists of the following . . .”, and then goes on to list eight reasons why Defendant’s

alleged failures to properly design, maintain, inspect, and operate the snowtubing runs

make Defendant liable for Plaintiffs’ injuries.

       Disagreeing with the plaintiffs’ argument in Mavreshko, Judge Munley held that the

terms of the Release applied to them despite that the injury claims contained in their

complaint were not specifically excluded by the Release. The Mavreshkos cited only the

exculpatory language of the Release that discussed snowtubing equipment provided by

the operator, and argued that the document applied only to liability with regard to the

provided equipment, but not to all types of liability. Judge Munley disagreed, writing:

        Although we must construe the contract strictly, we must also use common
        sense in interpreting this agreement. In addition, we must examine the
        whole release, not merely the portions highlighted by the plaintiffs. The
        plaintiffs do not discuss sections of the release that are broad in scope and
        that do not discuss equipment. For example the document is entitled:
        “Release of Liability for Snowtubing.” It provides: “I understand and am
        aware that snowtubing is a HAZARDOUS ACTIVITY. I understand that
        snowtubing and the use of snowtubes involves a risk of injury to any and all
        parts of my body. I hereby freely and expressly assume and accept
        responsibility for any and all risks of injury or death while participating in this
activity.” The [R]elease proceeds to state: “I, the undersigned, acknowledge that I have
read this agreement and release of liability and I understand its contents. I understand
that my signature below expressly waives any rights I may have to sue Operator for
injuries and damages.”

Id. at 4 (citations omitted).

       By this reasoning, Judge Munley held that the Release was broad enough to cover

the negligence asserted by the Mavreshkos in their complaint, and that the Mavreshkos’

signatures served as an assent to the language of the Release which exculpated

defendant from potential liability for any injuries incurred by snowtubing participants. This


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Court finds likewise with respect to the Daniels’ negligence claim in the instant action.

Accordingly, Defendant’s motion for summary judgment will be granted.



                                        CONCLUSION

        An appropriate Order follows.



May     16 , 2007                                 /s/ A. Richard Caputo
                                                  A. Richard Caputo
                                                  United States District Judge




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 DANIELS, husband and wife,
                                                     NO. 3:06-CV-00324
         Plaintiffs,

                 v.                                  (JUDGE CAPUTO)

 FERNWOOD CORPORATION, t/d/b/a/
 FERNWOOD HOTEL AND RESORT,

         Defendant.


                                           ORDER

        NOW, this      16th   day of May, 2007, IT IS HEREBY ORDERED that:

(1)     Defendant’s motion for summary judgment (Doc. 11) is GRANTED.

(2)     The Clerk of Court shall mark this matter as CLOSED.



                                                /s/ A. Richard Caputo
                                                A. Richard Caputo
                                                United States District Judge
